
17 Mich. App. 375 (1969)
169 N.W.2d 524
HATFIELD
v.
THOMPSON
Docket No. 6,492.
Michigan Court of Appeals.
Decided May 26, 1969.
Leave to appeal denied February 17, 1970.
Howard C. Fisher, for plaintiff.
Brownell, Gault &amp; Andrews (Douglas M. Philpott, of counsel), for defendant.
*376 BEFORE: LESINSKI, C.J., and QUINN and DANHOF, JJ.
Leave to appeal denied February 17, 1970. See 383 Mich 766.
PER CURIAM:
Plaintiff and defendant are fellow employees. Their cars collided on the employer-owned parking lot as they were leaving the premises during lunch hour. Plaintiff was injured and filed an action for personal injuries. Defendant moved for accelerated judgment or summary judgment under GCR 1963, 116.1(1) and 117.2(1) on the basis that plaintiff's exclusive remedy was under the workmen's compensation act.[*] The motion was granted and plaintiff appeals.
Plaintiff concedes that the trial court was correct on the authority of Ladner v. Vander Band (1965), 376 Mich 321, and Simerka v. Pridemore (1968), 380 Mich 250, and in effect requests this Court to overrule Ladner and Simerka. We have no authority to do so.
Affirmed with costs to defendant.
NOTES
[*]  CL 1948, § 411.1 et seq. (Stat Ann 1968 Rev § 17.141 et seq.).

